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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


1. ELIJAH HENRY,                 )
                                 )                      Case No. 5:19-cv-01018-SLP
           Plaintiff,            )
                                 )
v.                               )
                                 )
1. RADIUS GLOBAL SOLUTIONS, LLC; )
and 2. DOES 1-10, inclusive,     )
                                 )
           Defendant,            )
                                 )

                                         ORDER

       Defendant Radius Global Solutions, LLC’s Motion for Extension of Time to

Answer (Doc. No. 8) now comes before this Court. Upon consideration of the Motion,

this Court GRANTS Defendant Radius Global Solutions, LLC’s Motion for Extension of

Time to Answer or Otherwise Plead, and hereby extends the deadline for Radius Global

Solutions, LLC to file its initial pleading from January 10, 2020 to January 24, 2020.

       IT IS SO ORDERED this 9th day of January, 2020.
